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Description : ]
2 NIBIN TF from: Smith & Wesson, Model- 4053 TSW.

Date Recovered May 16, 2020 11:12 AM
Location Recovered 433 East Army Post i: d, Des ...
mgov.org)

Recovered By Charles Guhl (ewguhl@drgo
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Case #
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— Location Recovered 433 East Army Post Road, Des
Recovered By Charles Guhl (cwguhl @dmgov.org)

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